      Case: 1:17-cv-05382 Document #: 11 Filed: 01/05/18 Page 1 of 3 PageID #:37



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JOHN STRAUS,                                      )
                                                  )
        Plaintiff,                                )
                                                  )    No:     17 CV 5382
vs.                                               )
                                                  )    Honorable Robert W. Gettleman
WINDOW WORKS, INC, a corporation,                 )
                                                  )
        Defendant.                                )


                     JOINT MOTION FOR APPROVAL OF SETTLEMENT

        Plaintiff John Straus, by and through his attorneys, the law office of John C. Ireland and

Osborne Employment Law, and Defendant Window Works, Inc., by and through its attorneys,

the Law Offices of Ian B. Hoffenberg, LLC, (collectively the “Parties”) move for approval of the

settlement of this action. In support of their motion, the Parties state as follows:

        1.      Plaintiff filed this action on July 21, 2017, alleging a violation of the Fair Labor

Standards Act, 29 U.S.C. 201, et seq. (“FLSA”), and Illinois Minimum Wage Law, 820 Ill.

Comp. Stat. 105/1, et seq. Defendant filed its Answer on September 29, 2017.

        2.      There exists between the Parties a bona fide dispute. The Parties recognize the

outcome in this action is uncertain and achieving a final result through litigation requires

additional risk, discovery, time, and expense.

        3.      After engaging in good faith arms-length negotiations, the Parties have reached a

mutually satisfactory confidential resolution of their dispute, the terms of which are

memorialized in a Confidential Settlement Agreement and Release of Claims (“Settlement

Agreement”). A copy of the Settlement Agreement will be submitted to the Court in camera on

the date of filing of this motion, but will not be filed in the public record.
     Case: 1:17-cv-05382 Document #: 11 Filed: 01/05/18 Page 2 of 3 PageID #:38



       4.     Because this is an action seeking recovery of wages owed under the FLSA, the

settlement requires court approval. See e.g. Burkholder v. City of Ft. Wayne, 750 F. Supp. 2d

990, 994-95 (N.D. Ind. 2010); Lynn's Food Stores v. United States, 679 F.2d 1350, 1355 (11th

Cir. 1982).

       5.     The Parties agree that the terms of the settlement are fair and reasonable.

       WHEREFORE, the Parties respectfully request that this Honorable Court enter an Order

approving the Settlement Agreement after adjudging it to be adequate, proper, fair and

reasonable.



                                                    Respectfully submitted,
                                                    WINDOW WORKS, INC., Defendant

                                                    By: /s/ Ian B. Hoffenberg
                                                          One of Its Attorneys

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                                                    John Straus, Plaintiff

                                                    By: /s/ Quinton Osborne
                                                          One of His Attorneys


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                                              -2-
    Case: 1:17-cv-05382 Document #: 11 Filed: 01/05/18 Page 3 of 3 PageID #:39



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